  Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 1 of 15



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
______________________________________________

CHIQUANDA SANDERS
                              Plaintiff
       v                                                     COMPLAINT
                                                             INDEX NO.
CITY OF ROCHESTER, NEW YORK,
ROCHESTER CITY POLICE, POLICE OFFICER
CHARLES A. Lo FASO and POLICE OFFICERS
 “JOHN DOES 1-10”
(last ten names being fictitious, true name unknown, said
 persons being police officers who were involved in
 incidents occurring on or about December 3, 2013 which
are the subject of this action)

                              Defendants


 ______________________________________________

Plaintiff by her attorney, E. Robert Fussell, as and for her Complaint against the

defendants herein alleges:



   1. Plaintiff is a resident of the State of New York. Pursuant to 28 USC Sections

       1331, 1343 and 1367 this court has jurisdiction over her 42 USC 1983 Cause of

       Action, and over all the other causes of action delineated in this Complaint as they

       derive from the same case or controversy and are supplemental to it.

   2. Plaintiff now resides at 541 Birr Street, Rochester, New York 14613. But, at all

       times mentioned herein plaintiff resided at 18 Gladstone Street, Rochester, New

       York 14611

   3. Upon information and belief, the individual defendants were, at all times

       hereinafter mentioned, residents, and/or employees, of the City of Rochester,




                                                                                         1
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 2 of 15



    County of Monroe, State of New York. The principal place of business in the City

    of Rochester, County of Monroe New York. The address of the Defendant City of

    Rochester, the employer of the individual defendants, is 30 Church Street

    Rochester, New York 14614. Defendant City of Rochester was at all times

    hereinafter mentioned, a municipal corporation duly organized and existing under

    and pursuant to the laws of the State of New York, with offices for the conduct of

    its business located in the City of Rochester, County of Monroe, State of New

    York

4. Plaintiff has served a Notice of Claim upon the defendant, the City of Rochester

    for adjustment, which was received by the defendant on about 1-29-14, within 90

    days after the claim arose.



5. More than thirty days have elapsed since service of the Notice of Claim and

    defendant City of Rochester has failed and refused to make any adjustment of the

    claim, causing plaintiff to commence this action by filing this Complaint and

    serving copies of it on defendants.

 6. This action has been commenced within one year and ninety days after the cause

    of action accrued.

 7. The amount of damages sought in this action exceeds the jurisdictional limits of

    all lower courts, which would otherwise have jurisdiction.

8. Sometime before mid-morning of 12-3-13 defendants police officer/ employees,

    while in the employ of, and performing work for, the defendant City, and while

    acting within the scope of their employment, procured an undated, no-knock




                                                                                       2
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 3 of 15



   Search Warrant purportedly signed by Monroe County Judge Victoria M Argento,

   for plaintiff’s home located at 18 Gladstone Street, Rochester, New York.

9. The procurement of that search warrant, was, on information and belief, obtained

   by including false statements in the affidavit/application for search warrant

   presented to Judge Argento, by defendant Charles A Lo Faso, a police officer

   employed by the City of Rochester, and/or by other defendant officers employed

   by the City of Rochester. That false information was presented in support of the

   false contention that the articles described in the search warrant, to be searched

   for and seized by the police, were located at 18 Gladstone Street Rochester, the

   plaintiff’s residence. (None of the illegal behavior which was the subject of the

   defendant’s investigation had been committed by anyone residing at 18 Gladstone

   Street, and no behavior had been committed at 18 Gladstone Street which

   provided any basis of an application for a search warrant for that address, and, on

   information and belief, there was no reasonable basis for officer Lo Faso, or any

   other defendant, to believe that any of the items subject to the search warrant

   were, in fact, located at 18 Gladstone Street Rochester, New York.)

10. Specifically, there was no reasonable basis (as noted in the Warrant itself) to

   suspect that the person who “shot Kemari Hodrick, known as ‘Mills’” resided at

   18 Gladstone Street, had ever entered 18 Gladstone Street, or had any connection

   to 18 Gladstone Street, and furthermore there was no probable cause for the

   defendants to believe that any of the physical objects set forth in the search

   warrant would be found at 18 Gladstone Street.




                                                                                        3
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 4 of 15



          On information and belief officer Lo Faso, and/or other defendants failed to

   perform the duties required of them when: (a) applying for the search warrant

   pursuant to section 690.35 (4) of the New York State Criminal Procedure Law,

   specifically, the proof needed to discern the reliability of their informant, and/or

   (b) when determining the reliability of the information provided by the informant

   and/or (c) otherwise acting in a manner to avoid making an application for a no

   knock search warrant, for property that has no connection with the crime, or

   criminal, being investigated.



 11.     On information and belief the search warrant application did not establish

   probable cause for the signing of a warrant, and/or contained false statements,

   and/or material omissions, made either knowingly and intentionally, or with

   reckless disregard for the truth. And, on information and belief, the defendants

   failed to show that the informant was credible or that the specific information

   provided by that informant was credible. More specifically, on information and

   belief, the application for the warrant violated the Aguilar Spinelli test in that it

   was not supported by a reasonable showing that the informant was reliable,

   and/or that the informant had a reasonable knowledge for his, or her, statement.

12. On 12-3-13 defendants executed the no knock search warrant on the wrong

   house. And thereafter, on information and belief, the defendants unreasonably

       prolonged the search of 18 Gladstone after it became apparent to them (or should

       have become apparent to them) that they were searching the wrong house, and

   they did not immediately withdraw from 18 Gladstone either upon the realization




                                                                                           4
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 5 of 15



   that they were in the wrong home, or after obtaining information that should have

   made them aware of the fact that they were searching the wrong house.

   On information and belief the defendants obtaining the warrant and/or execution

   of the warrant constituted incompetence on their part, and/or exceeded the scope

   of their authority.



13. More specifically,   on December 3, 2013, in the mid morning, approximately five

   or six defendants invaded plaintiff’s home unannounced by demolishing her front

   door with a battering ram, wearing face masks, boots and cargo pants carrying

   rifles and other deadly weapons, and yelling. The explosively loud battering

   down of the front door awoke the plaintiff, who was two months pregnant at the

   time, upstairs, asleep - terrifying her. One or more of the defendants then yelled

   at her ordering her to “GET DOWN HERE! HURRY UP!”

            Plaintiff came to the top of the stairs, in terror, wearing only a T-shirt and

   carrying her pants and her 11 month old grandson. She was petrified when

   looking down at defendant officers, who were pointing rifles, up at both her and

   at her infant grandson. She followed their commands and scurried downstairs.

       Defendants then battered plaintiff by forcefully handcuffing her, and refusing

   to allow her to dress. The defendants did not allow her to put on her pants or

   cover herself in any manner, and they did not cover her body with anything,

   such as a blanket, or clothing. They forced her to remain on the floor and couch,

   wearing only her T-shirt, uncovered, humiliatingly visible to all members of the

   public who observed her through the front doorway (some attracted by the



                                                                                         5
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 6 of 15



       needless commotion and hub- bub created by the defendants, that lasted for over

       an hour; exposing plaintiff to their view, because the front door had been

       demolished when rammed open by defendants.)

            Plaintiff was then falsely imprisoned when defendants confined her to the

       floor and her couch, handcuffed - for over an hour. During this time,

       approximately fifteen to twenty of the defendants ransacked her house.

 14.          The defendants committed conversion by interfering with plaintiff’s

       rights to various pieces of her personal property as follows: (a) they shot her

       peaceful three year old female dog - killing it, (b) they took, and since 12-2-14,

       have refused to return her two cell phones (despite telling plaintiff they would

       return them to her), and (c) they destroyed her dresser drawer, and demolished

       boxes, and the tape which had sealed those boxes, and destroying her notebooks,

       and strewed the contents of the boxes, and other items owned by plaintiff, about

       the apartment.

 15.      The defendant’s violated plaintiff’s constitutional rights and thereby

        committed violations of 42 U.S.C. 1983 against her. The plaintiff’s civil rights

       to have her liberty, and property taken pursuant to due process were violated, and

       furthermore excessive, completely needless, force was applied to her body by

       the defendants.

          While in plaintiff’s home defendants made the false claim to plaintiff, that a

       man had arrived at her house in a gray or silver car the previously day, and made

       a phone call from her land- line phone. After plaintiff denied that such an event

       had occurred. Defendants asked plaintiff if she knew men, whose names were


                                                                                            6
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 7 of 15



   provided to her by defendants. Plaintiff answered truthfully that she was not

   familiar with any one, known by any of those names.

   16.      Upon leaving 18 Gladstone the defendants apologized to plaintiff for their

         intrusion, defendants, however, did nothing to clean up the chaotic mess they

         had created. For example they did not put the items they had strewn about the

         apartment back in their places, fix the broken drawer, or return the items they

         had converted, or assisted the plaintiff to deal with the terror and emotional

         and physical trauma they had inflicted upon her, or help her deal with their

         shooting and killing of her beloved friendly, female dog.

             On information and belief the municipal defendant violated plaintiff’s

         federal constitutional rights by implementing it’s the defective warrant

         procurement policy to obtain a no knock warrant to search plaintiff’s home, at

         18 Gladstone Street – a procurement policy that is either an official policy of

         the municipal defendant and/or part of the municipal defendant’s

         governmental custom. Additionally the municipal defendant violated

         plaintiff’s federal constitutinal rights by terrorizing and battering plaintiff, and

         by committing needless other torts upon her person and property by

         implementing its defective no-knock warrant policy – either pursuant to its

         official policy and /or its governmental custom.

   17.       On information and belief, the municipal defendants negligently hired

         and/or negligently retained the individual defendants who committed all the

         torts described in this Complaint.




                                                                                            7
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 8 of 15



             The individual defendants are liable to plaintiff for punitive damages, for

         their violations of all the torts set forth in this Complaint that permit the award

         of punitive damages.

   18.       The plaintiff suffered from, now suffers from, and will permanently

         suffer from pain and suffering, including – the shock and fright – i.e. the

         terror - of being awakened from her sleep, assaulted, battered, falsely

         imprisoned, the killing of her beloved dog, the conversion of her cell phones,

         and other pieces of personally property, the humiliation of being exposed to

         members of the public while shackled in handcuffs, and in the nude, for at

         least and hour; the deprivation of her civil rights as described heretofore in

         this Complaint, the negligent hiring and/or retention of the defendants who

         committed the torts set forth in this Complaint, the physical pain resulting in

         the aggravation of her carpal tunnel syndrome in her right hand and right arm,

         and the creation of carpal tunnel syndrome in her left hand and arm. (The

         carpal tunnel syndrome was created and/or aggravated by handcuffing the

         plaintiff. The pain in her hands and arms prevents her from lifting and/or

         carrying items such as glasses of water, and small children, such as her 5

         month old son, and other children, for whom she takes care.) On information

         and belief the plaintiff suffers from post- traumatic stress disorder, in that she

         jumps up in terror when hearing a loud noises, such as running up the stairs,

         slamming doors etc. and she suffers from paranoia, when in loud and/or

         unstructured environments, and when in the presence of police officers.




                                                                                              8
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 9 of 15



   19.       The Municipal defendant is liable for all New York State torts set forth in

         this Complaint committed by the individual defendants through the theory of

         vicarious liability.

   20.       At the time the defendants entered 18 Gladstone, the father of plaintiff’s

         son, Darrell Taylor, was in the kitchen. He was handcuffed and forced to sit

         on the floor for over an hour. He was then taken to a police station, and asked

         he if knew about a killing on Genesee Street, and told that a phone call had

         been made from a land line at 18 Gladstone Street that was related to the

         murder they were investigating. Defendants insisted that someone had

         definitely made a phone call from 18 Gladstone Street on the previous day,

         and that said person had arrived at 18 Gladstone Street in a silver/ gray car.

         Defendants then asked Mr. Taylor if he knew individuals whose names were

         provided to him by defendants. Mr. Taylor responded that he did not know

         about any of the issues they were talking about, and that he did not did not

         recognize any of the names they provided to him. Mr. Taylor then asked

         defendants why they believed a man had come into 18 Gladstone the day

         before in a silver/gray car and why they believed a phone call had been made

         from the land- line at 18 Gladstone that supported the procurement of the

         search warrant for that address. The defendants refused to respond to his

         questions.




                                                                                           9
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 10 of 15



                      FIRST CAUSE OF ACTION

 21. The plaintiff repeats all allegations made heretofore in this Complaint.

 22. On 12-3-14 in the mid morning, defendants, specifically the individual

       defendants, and the City, through the individual defendants, assaulted the plaintiff

       by intentionally placing her in apprehension of imminent harmful or offensive

       contact, as set forth in this Complaint, including, but not limited to, their yelling

       commands and pointing rifles up at her and her 11 month old grandson, while

       wearing masks and other frightening accoutrements..



                      SECOND CAUSE OF ACTION

 23.     The plaintiff repeats all allegations made heretofore in this Complaint.

 24.     Defendant’s police officer employees on 12-3-13 intentionally and maliciously

       battered plaintiff, as set forth in this Complaint, including, but not limited to their

       handcuffing her, and forcing her to remain on her floor and couch for over an

       hour.




                      THIRD CAUSE OF ACTION

 25. The plaintiff repeats all allegations made heretofore in this Complaint.

 26. The defendant’s thereafter, on 9-7-13 intentionally and maliciously falsely

        imprisoned plaintiff, as set forth in this Complaint, including, but limited to their

       confining her to her floor and couch for an hour or longer while naked, except for




                                                                                           10
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 11 of 15



    wearing a T-shirt and while handcuffed, exposed her to the view of members of

    the public through her doorway, after her door had been demolished by

    defendants.




                     FOURTH CAUSE OF ACTION

  27.         The plaintiff repeats all allegations made heretofore in this Complaint.

  28.         The defendants committed conversion of plaintiff’s personal property as

    stated heretofore in this Complaint, including, but not limited to their shooting

    and killing her peaceful dog; taking, and refusing to return her two cell phones;

    destroying boxes in which she stored personal property; taking various notebooks

    and damaging a drawer of her dresser; and strewing items of personal property

    about her apartment.




                     FIFTH CAUSE OF ACTION



  29. The plaintiff repeats all allegations made heretofore in this Complaint.

  30 .The individual defendants violated plaintiff civil rights in violation of 42 USC

        1983 by depriving her of her rights of liberty, and property without due

    process, and by using excessive force upon her body. (Any force would have




                                                                                         11
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 12 of 15



    been excessive because defendants executed the no-knock warrant, against the

    wrong house, and had no legal right to touch, handcuff or control her body, and

    furthermore plaintiff presented no danger to defendants)

 31. On information and belief the individual defendants violated plaintiff’s rights

    under 42 USC 1983 by failing to determine the reliability of any informant they

    relied upon when preparing the application for a no-knock warrant for plaintiff’s

    home, and for its failure to verify the information they obtained from their

    informant, and otherwise violated plaintiff’s federal constitutional rights when

    obtaining the warrant and when executing the warrant.

  32 .The defendants, at the times and places indicated, were acting under color of

     law of the State of New York and deprived plaintiff of the privileges and

    immunities guaranteed to every citizen of the United States by the United States

    Constitution including Amendment IV, Amendment V and Section 1 of

    Amendment 14, and by reason thereof this Court has jurisdiction over the

    plaintiff’s claims for violation of her Federal Civil rights, pursuant to the

    provisions of 42 U.S.C. 1983.




                    SIXTH CAUSE OF ACTION



    33. The plaintiff repeats all allegations made heretofore in this Complaint.




                                                                                       12
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 13 of 15



    34. On information and belief the municipal defendant violated plaintiff’s

          federal constitutional rights by implementing it’s the defective warrant

          procurement policy to obtain a no knock warrant to search plaintiff’s home,

      at 18 Gladstone Street – a procurement policy that is either an official policy

      and/or part of the municipal defendant’s governmental custom.

    35.       Additionally, on information and belief, the municipal defendant violated

           plaintiff’s federal constitutional rights by terrorizing and battering plaintiff,

          and committing needless other torts upon her person and property through

           implementation of its defective “execution of no –knock warrant policy”

           one that is either an official policy and /or part of it’s governmental

           custom.




                      SEVENTH CAUSE OF ACTION



    36. The plaintiff repeats all allegations made heretofore in this Complaint.

    37. The shooting and killing of plaintiff’s dog violates New York General

          Construction Law § 25-b. The dog’s value was $ ??? immediately prior to its

      death. A defendant willfully and maliciously destroyed the dog by shooting it

     and thereafter the defendants allowed it to bleed to death. The individual

     defendants are therefore subject to punitive, as well as compensatory damages

      for killing the dog.




                                                                                               13
Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 14 of 15




                      EIGHTH CAUSE OF ACTION

  38. The plaintiff repeats all allegations made heretofore in this Complaint.




 39. On information and belief the defendant City of Rochester negligently failed to

       properly investigate the defendant officers involved in the mistreatment of the

       plaintiff as heretofore described in this Complaint before hiring them, negligently

       instructed, negligently trained and negligently supervised them resulting in

       the tortuous and other actionable behavior heretofore described in this Complaint.



 40.    The plaintiff suffered the damages set forth in this Complaint, including the loss

        of her personal property, her permanent physical and emotional pain and

       suffering, including, but not limited to, post traumatic stress disorder, carpel

       tunnel type syndrome, that greatly impair plaintiff’s hands and arms, preventing

       her from lifting and/or carry items such as glasses of water, and small children,

       such as her 5 month old son and other children for whom she takes care.




                                                                                           14
 Case 6:15-cv-06074-DGL-MWP Document 1 Filed 02/10/15 Page 15 of 15



   41. The individual defendants committed their torts intentionally, recklessly and or

       maliciously and they are therefore subject to the payment of punitive damages to

       plaintiff for the violation of the above described torts.



   WHEREFORE, plaintiff demands judgment against the defendants for all the

physical, emotional and other damages she endured and will endure in the future, and for

punitive damages against the individual defendants, and legal fees, together with the costs

and disbursements of this action.



February 9, 2015



                                              S/_________________________

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